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                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES                                    )
                                                 )
                                                 )
                   v.                            )      No. 1:21-CR-143-ELR-CCB
                                                 )
                                                 )
VICTOR HILL,                                     )
                                                 )
            Defendant.                           )


                SHERIFF VICTOR HILL’S MOTION IN LIMINE


   COMES NOW, the Defendant, Sheriff Victor Hill, by and through

undersigned counsel and files this Motion in Limine in the above-styled case and

asks the Court to exclude the following evidence at trial:



                               LEGAL STANDARD

      Evidence is generally admissible if it is relevant, that is, “(a) it has a

tendency to make a fact more or less probable than it would be without the

evidence; and (b) the fact is of consequence in determining the action.” Fed. R.

Evid. 401, 402. But where the probative nature of even relevant evidence is

outweighed by the risk of unfair prejudice, confusion of the issues, or misleading

the jury, the Court may exclude it. Fed. R. Evid. 403. This Court enjoys “broad
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discretion to determine the relevance and admissibility of any given piece of

evidence.” United States v. Merrill, 513 F.3d 1293, 1301 (11th Cir. 2008).

                            CHALLENGED EVIDENCE

      The government began investigating Sheriff Hill in 2020. From a review of

the discovery provided by the government, federal agents made attempts to “dig

up” information related to a sweeping breadth of conjectures; however, when it

came time to indict, the government made the decision to limit the charges to

seven allegations of similar conduct involving Sheriff Hill’s decision to utilize a

restraint chair in the jail. Nonetheless, Sheriff Hill believes the government may

intend to introduce some or all of the uncharged allegations described below at

trial. He asks that this Court rule that any mention of, or reference to, the

following issues be strictly prohibited either through documentary evidence,

witness testimony, or argument of counsel.

      Sheriff Hill has not received notice from the government of any evidence

subject to Federal Rule of Evidence 404(b), and he reserves the right to challenge

any such evidence if the government offers the required notice.

      1. Other Uses of Force That Have Allegedly Occurred in the Clayton
         County Jail (the “Jail”):

      Some witnesses may attempt to describe other uses of force that have

allegedly occurred in the Jail by employees of the Clayton County Sheriff’s

Office. As it is irrelevant as to whether or not the civil rights of seven specific


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inmates were violated on the specific occasions listed in the indictment, the

government should be precluded from offering evidence of any alleged bad act

committed by other employees of the Clayton County Sheriff’s Office not directly

related to the incidents described in the indictment. This evidence would be

offered solely for the purpose of suggesting that the jury impute such wrongful

conduct to Sheriff Hill and to paint a negative picture of conditions inside the

jail—it is not probative of any of the conduct the government has charged in this

case and should be excluded under Federal Rule of Evidence 403.

          2. Other Evidence of the Conditions and Procedures of Confinement
             at the Jail:

      While Sheriff Hill certainly maintains that the conditions of the jail are not

only sufficient, but that they are structured in such a manner that the control and

safety of the inmates and staff is the central focus of all policies; the government

may attempt to offer evidence of other otherwise legal conditions/procedures

related to that control that are otherwise irrelevant to the trial at hand.

Specifically, the government should be precluded from mentioning:

          • the use of strip searches and/or paper gowns and inmates being

              placed on suicide watch at the jail;

          • the decision for mental health placement of inmates and any

              conditions associated with that decision;




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          • the access of inmates to medical/health care and the quality of the

              care provided;

          • the access of inmates to legal research or the law library;

          • the Jail’s use of a meal substitute known as “nutraloaf” or “veg-loaf;”

          • the physical conditions or quality of the conditions of the jail itself;

          • the way that the deputies are uniformed and/or the type or nature of

              equipment utilized by the Clayton County Sheriff’s Department (i.e.

              their vehicles, firearms, bulletproof vests);

          • the conditions at the Jail related to Covid-19; and

          • the investigative techniques or procedures of particular units with

              the Sheriff’s Department and the decisions to utilize a particular unit

              and or techniques for a particular investigation.

      All of the above, albeit most of which are legal and commonly used

methods of control by jail facilities, may be described in such a derogatory way

by witnesses in an effort to inflame the jury and have nothing at all to do with

allegations that Sheriff Hill placed the seven inmates in the indictment into a

restraint chair in violation of their constitutional rights. As with allegations of

uses of force, this evidence would only be offered to distract and prejudice the

jury so that it judges Sheriff Hill by something other than the facts surrounding




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his use of the restraint chair. This evidence, too, should be excluded under

Federal Rule of Evidence 403.

         3. Any Lawsuit, Suspension, or Other Indictment Involving Sheriff
            Hill:

      Sheriff Hill has had previous criminal cases against him. Both cases

occurred many years ago and they involve completely unrelated and acquitted

conduct. In addition, Sheriff Hill is the target of numerous civil lawsuits that

have nothing to do with his use of restraint chairs and are common to any high-

level law enforcement officer. Indeed, rare is the civil lawsuit challenging law

enforcement conduct that does not include name the sheriff or chief law

enforcement officer as a defendant. Finally, Governor Brian Kemp suspended

Sheriff Hill from office while this case is pending, and the government may

attempt to mention that administrative case. The government should be

precluded from mentioning any case against Sheriff Hill because they are not

relevant here and pose a high risk of prejudicing the jury in violation of Federal

Rules of Evidence 401 and 403.

         4. Retaliation Against Employees:

      Sheriff Hill anticipates that some of the government’s witnesses are former

employees of the Clayton County Sheriff’s Office who left on unfavorable terms.

He expects that they may attempt to testify that Sheriff Hill fostered an

environment of retaliation and that he fired employees who raised concerns.


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Some witnesses may attempt to testify to Sheriff Hill’s reaction upon learning

that employees were speaking with the federal government as part of this

investigation. And other witnesses may try to allege that Sheriff Hill engaged in

inappropriate behavior, including personal relationships, with employees.

      Those allegations are mostly false and/or highly exaggerated, this is not an

employment action, and Sheriff Hill is not on trial for alleged conduct involving

his employees. This evidence would be highly prejudicial and offers no probative

value to alleged civil rights violations in violation of Federal Rules of Evidence

401 and 403.

         5. Obstructing the Investigation:

      The government may attempt to insinuate that the Clayton County

Sheriff’s Department engaged in some sort of effort to hide evidence or not

cooperate with government investigators. The government has not charged

witness or document tampering, or any other charge related to the obstruction of

justice, and it should not be allowed to imply criminal acts that it is not prepared

to prove beyond a reasonable doubt. This would clearly violate Federal Rules of

Evidence 401 and 403.




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         6. The Strength or the Legality of the Arrests or Criminal Cases

             Against any of the Inmates:

      The government may attempt to offer evidence in such a way to raise

doubt as to the legality of the arrests on the underlying offenses against the seven

inmates listed in the indictment. As all the alleged victims in this matter (and

some still are) inmates in the Clayton County Jail, they all had (and have)

pending criminal cases for which they were placed under arrest and

subsequently housed in the Jail. Trying to place doubt on the propriety or

legality of the underlying arrests would implicate some vast conspiracy among

law enforcement, magistrates, judges, and prosecutors in Clayton County which

certainly has no basis in fact and would be clearly improper for the government

to infer. This would be irrelevant under Federal Rule of Evidence 401 and unduly

prejudicial under 403.

         7. Any Improper Personal/Character Evidence of Sheriff Hill:

      The government may attempt to offer evidence of a more personal nature

against Sheriff Hill. Specifically, they may attempt to make reference to his interest

in the character Batman and its associated symbols and derive some meaning

therefrom. This would clearly be improper and nonprobative. They may also try

to offer evidence surrounding who he associates with in his personal capacity

(both romantic and platonic) and derive some meaning therefrom. This would also



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be clearly improper and nonprobative to the issues at hand in violation of Federal

Rule of Evidence 404.



      WHEREFORE, defendant Sheriff Victor Hill respectfully requests that this

Court grant his Motion in Limine and exclude irrelevant and unfairly prejudicial

evidence from the trial in this case.




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This 10th day of August, 2022.       Respectfully submitted by,

                                     /s/ Marissa Goldberg
                                     Marissa Goldberg

                                     /s/ Drew Findling
                                     Drew Findling

                                     /s/ Lynsey M. Barron
                                     Lynsey M. Barron


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                         CERTIFICATE OF SERVICE

      I hereby certify that on the below date I electronically filed the foregoing

Motion in Limine with the Clerk of Court using CM/ECF system which will

automatically send email notification of such filing to the to the following

attorneys of record:


                   Brent Gray, AUSA
                   Brett Hobson, AUSA
                   U.S. Attorney’s Office
                   600 Courthouse
                   75 Ted Turner Drive SW
                   Atlanta, GA 30303


      This 10th day of August, 2022.

                                        /s/ Marissa Goldberg______
                                        Marissa Goldberg
                                        Attorney for Sheriff Victor Hill
